Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 1 of 23 PageID #: 170



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

      CRAIG CUNNINGHAM,                                    §
                                                           §
                    Plaintiff,                             §     CIVIL ACTION NO. 4:18-CV-00118-ALM-
                                                           §                    CAN
      v.                                                   §
                                                           §
      MARK D. GUIDUBALDI AND                               §
      ASSOCIATES, LLC, ET AL.,                             §
                                                           §
                    Defendants.

                                REPORT AND RECOMMENDATION
                             OF UNITED STATES MAGISTRATE JUDGE

           Pending before the Court is Defendants Mark D. Guidubaldi & Associates, LLC d/b/a

  Protection Legal Group (“PLG”), Law Office of Sanford J. Feder, LLC (“Feder Law Office”), and

  Sanford J. Feder, Esq.’s (“Feder”) (collectively “Defendants”) “Motion to Dismiss and to Strike

  Plaintiff’s ‘Amended Complaint’” [Dkt. 30]. After reviewing the Motion to Dismiss [Dkt. 30],

  Plaintiff’s Response [Dkt. 32], and all other relevant filings, the Court recommends that

  Defendants’ Motion to Dismiss be GRANTED IN PART AND DENIED IN PART.

                                               BACKGROUND

           This case involves alleged violations of the Telephone Consumer Protection Act

  (“TCPA”), 47 U.S.C. § 227. Plaintiff Craig Cunningham (“Plaintiff”), proceeding pro se, filed his

  original Complaint on February 20, 2018, against Defendants [Dkt. 1].1 On May 1, 2018,

  Defendants filed their “Motion to Dismiss and to Strike Plaintiff’s ‘Original Complaint’” [Dkt. 14]

  (“First Motion to Dismiss”). The Court set the First Motion to Dismiss for hearing on June 20,



  1
   Plaintiff’s suit originally included additional Defendants Cashflow Care, LLC, Mark D. Guidubaldi, Esq., and Law
  Office of Mark D. Guidubaldi, LLC; these Defendants were subsequently dismissed by Plaintiff, leaving only the
  moving Defendants and Defendant Corporate Bailout, LLC, who has not yet been served in this action [see Dkt. 29].


  REPORT AND RECOMMENDATION – Page 1
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 2 of 23 PageID #: 171



  2018 [Dkt. 23]. At hearing, Plaintiff requested an opportunity to amend his Complaint. The Court

  granted Plaintiff’s request and the Parties agreed that, as a result, Defendants’ First Motion to

  Dismiss would be rendered moot. On July 11, 2018, Plaintiff filed his Amended Complaint, the

  live pleading [Dkt. 24]. Defendants again moved to dismiss Plaintiff’s claims, filing the instant

  “Motion to Dismiss and to Strike Plaintiff’s ‘Amended Complaint’” on September 19, 2018

  (“Second Motion to Dismiss”) [Dkt. 30]. Plaintiff filed his Response in opposition to the Second

  Motion to Dismiss on October 19, 2018 [Dkt. 32].

          The Amended Complaint

          Plaintiff alleges in his Amended Complaint that Defendants breached the TCPA by

  “placing automated calls or calls with pre-recorded messages without Plaintiff’s consent to the

  Plaintff’s cell phone” [Dkt. 24 at 16]. Plaintiff contends that “[t]he calls were either made by the

  corporate entity defendants individually or by corporate entity defendants acting on behalf of and

  at the direction of [PLG, Feder Law Office, Feder, and other dismissed defendants]” [Dkt. 24 at 3].

  Plaintiff additionally asserts a cause of action for invasion of privacy [Dkt. 24 at 16]. Plaintiff

  alleges that Defendants “all operate in a common enterprise to offer debt relief services and are

  alter egos of each other” [Dkt. 24 at 4]; and therefore, should be held vicariously, directly, jointly,

  and severally liable for the actions of one another [Dkt. 24 at 11-12].

                                               ANALYSIS

          Defendants advance three grounds for the dismissal of Plaintiff’s claims: (1) Plaintiff lacks

  standing [Dkt. 30 at 3]; (2) no personal jurisdiction exists over Defendants Feder Law Office and

  Feder [Dkt. 30 at 8]; and (3) Plaintiff fails to state a claim [Dkt. 30 at 6].




  REPORT AND RECOMMENDATION – Page 2
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 3 of 23 PageID #: 172



  Standing and Spokeo

             Defendants argue Plaintiff lacks standing because he has not suffered a concrete and

  particularized injury. Defendants go on to contend that “Plaintiff is [a] ‘professional plaintiff,’

  similar to the plaintiff in [Stoops v. Wells Fargo Bank, N.A., 197 F. Supp. 3d 782 (W.D. Pa. 2016)],

  [and] [Plaintiff] should not be afforded the protections provided under the TCPA” [Dkt. 30 at 5].

             Standing is a threshold jurisdictional requirement.2 “To establish Article III standing, a

  plaintiff must show: (1) an injury in fact that is (2) fairly traceable to the defendant’s challenged

  conduct, and that (3) a favorable judicial decision will likely redress the injury.” Texas v. United

  States, 300 F. Supp. 3d 810, 826 (N.D. Tex. 2018) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555,

  560-61 (1992)). As this Court has noted previously in Cunningham v. Florio, 2018 WL 4677801

  (E.D. Tex. 2018), Congress cannot convert a generalized grievance into an individual right for

  standing purposes. See Lujan, 504 U.S. at 577. But Congress can create “legal rights, the invasion

  of which creates standing, even though no injury would exist without the statute.” RITE—

  Research Improves Env’t, Inc. v. Costle, 650 F.2d 1312, 1320 (5th Cir. 1981) (quoting Linda R. S.

  v. Richard D., 410 U.S. 614, 617 n.3 (1973)). “Thus, where a statute confers new legal rights on

  a person, that person will have Article III standing to sue where the facts establish a concrete,

  particularized, and personal injury to that person as a result of the violation of the newly created

  legal rights.” Palm Beach Golf Ctr.-Boca, Inc. v. Sarris, 781 F.3d 1245, 1251 (11th Cir. 2015).

             The TCPA makes it unlawful to make calls using an artificial or prerecorded voice to any

  telephone number assigned to a residential telephone line. 47 U.S.C. § 227(b)(1)(B). The TCPA

  also makes it unlawful for a caller to make telephonic solicitations to a residential telephone

  number listed on the federal do-not-call registry. 47 U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c).



  2
      Defendants have brought a 12(b)(1) challenge in attacking Plaintiff’s standing to bring this case.


  REPORT AND RECOMMENDATION – Page 3
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 4 of 23 PageID #: 173



  This provides individuals with a legal right to be free from the intrusion of such calls. At issue is

  whether Plaintiff suffered a concrete, particularized, and actual or imminent injury (i.e., an injury

  in fact) resulting from Defendants’ alleged violation of this right.

           Defendants cite the Supreme Court opinion, Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016)

  to support their assertion that Plaintiff has not satisfied the “injury-in-fact demands of Article III.”

  The Court reasoned in Spokeo—a Fair Credit Reporting Act (“FCRA”) case—that “[a] violation

  of one of the FCRA’s procedural requirements may result in no harm. . . . [and] not all inaccuracies

  cause harm or present any material risk of harm.” Id. at 1550. Thus, there must be some concrete

  harm; it must actually exist. Id. at 1548. “Courts considering harm in connection with TCPA

  claims have noted that ‘one of the purposes of the TCPA was to protect telephone subscribers from

  the ‘nuisance’ of unwanted calls.’” Martin v. Leading Edge Recovery Sols., LLC, No. 11 C 5886,

  2012 WL 3292838, at *4 (N.D. Ill. Aug. 10, 2012); see also Cunningham v. Rapid Response

  Monitoring Services, Inc., 251 F. Supp. 3d 1187, 1197 (M.D. Tenn. 2017) (“Unwanted

  telemarketing can be a ‘nuisance’ and ‘an intrusive invasion of privacy.’”) (quoting Mims v. Arrow

  Fin. Servs., LLC, 565 U.S. 368, 372 (2012) (quoting TCPA, 105 Stat. 2394, note following

  47 U.S.C. § 227)).

           “Where, as here, a case is at the pleading stage, the plaintiff must ‘clearly. . . allege facts

  demonstrating’ each element” required to establish standing. Spokeo, 136 S.Ct. at 1547

  (quoting Warth v. Seldin, 422 U.S. 490, 518 (1975)).3 Plaintiff alleges in his Amended Complaint

  that: (1) he received at least 105 calls from Defendants to his four phone numbers [Dkt. 24 at 7];4


  3
    By contrast at the summary judgment stage, Plaintiff would be required to set forth by affidavit or other evidence
  “specific facts” of injury resulting from Defendants’ conduct. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 577 (1992).
  4
    Although Plaintiff states in his Response that “Plaintiff has not admitted to having 4 cell phone numbers”
  [Dkt. 32 at 2], Plaintiff’s Amended Complaint seemingly alleges that he is pursuing TCPA claims based on calls to
  four separate cell phone numbers [Dkt. 24 at 7-9].



  REPORT AND RECOMMENDATION – Page 4
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 5 of 23 PageID #: 174



  (2) “[t]hese are annoying calls, which are being placed as part of a nationwide telemarketing

  campaign” in violation of the TCPA” [Dkt. 24 at 10]; and (3) “[a]n ordinary person would be

  offended by these practices and receiving over 100 calls” [Dkt. 24 at 16].5 The Court finds that

  because Plaintiff pleads the existence of concrete, particularized injuries, however small or trifling,

  the Amended Complaint will not be dismissed on this basis. See Jamison v. Esurance Ins. Servs.,

  Inc., No. 3:15-CV-2484-B, 2016 WL 320646, at *2–3 (N.D. Tex. Jan. 27, 2016) (finding an injury-

  in-fact at the pleading stage when plaintiff suffered an occupation of his telephone line); Morris,

  2016 WL 7115973, at *6 (finding an injury-in-fact where Plaintiff was annoyed and harassed by

  unwanted telemarketing calls); Rapid Response Monitoring Services, Inc., 251 F. Supp. 3d at 1197

  (finding an injury-in-fact at the pleading stage when plaintiff alleged harassment and annoyance

  at receiving telemarketing calls); Postle v. Allstate Ins. Co., No. 17-cv-07179, 2018 WL 1811331,

  at *2 (N.D. Ill. Apr. 17, 2018) (“[Plaintiff’s] claim that his privacy was violated as a result of the

  call he received—the alleged TCPA violation by [defendant]—is sufficient, in and of itself, to

  establish a concrete injury under Article III.”); Susinno v. Work Out World, Inc., 862 F.3d 346,

  351(3rd Cir. 2017) (“[I]n asserting ‘nuisance and invasion of privacy’ resulting from a single

  prerecorded telephone call, [plaintiff’s] complaint asserts ‘the very harm that Congress sought to

  prevent,’ arising from prototypical conduct proscribed by the TCPA.”).




  5
    “The House of Representatives Report associated with the TCPA clearly states that ‘[t]he purpose of the bill
  (H.R. 1304) is to protect residential telephone subscriber privacy rights.’ The Report discusses the possibility that, in
  some instances, ‘automatic dialing systems can “seize” a recipient’s telephone line and not release it until the
  prerecorded message is played, even when the called party hangs up.’ From this, the Court concludes that an individual
  may also suffer an injury in fact from unauthorized telephone contact when it causes an occupation of the telephone
  line or an invasion of privacy.” Morris v. Unitedhealthcare Ins. Co., Civil Action No. 4:15-CV-00638-ALM-CAN,
  2016 WL 7115973, at *5 (E.D. Tex. Nov. 9, 2016), report and recommendation adopted, 4:15-CV-638, 2016 WL
  7104091 (E.D. Tex. Dec. 6, 2016) (Mazzant, J.) (quoting H.R. Rep. No. 102-317, at 5).



  REPORT AND RECOMMENDATION – Page 5
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 6 of 23 PageID #: 175



         Defendants additionally argue that Plaintiff lacks standing because he does not fall in the

  zone of interest protected by the TCPA:

         The Plaintiff fails to demonstrate the likelihood that a favorable decision will
         redress the alleged injuries. This is because the Plaintiff in this instance did not
         suffer any real harm. As a serial TCPA litigator, as evidenced by his failure to
         register his number with the national do not call list, the number of cell phone
         numbers that he uses and the sheer amount of TCPA lawsuits filed by the Plaintiff,
         the Plaintiff seeks out any opportunity to file a TCPA lawsuit so that he can make
         money by taking advantage of the generous penalties granted under the TCPA. In
         fact, the Plaintiff is likely taking certain steps to insure that he receives as many
         telemarketer calls as possible (as demonstrated by [the sheer] amount of TCPA
         lawsuits filed by the Plaintiff and the amount of settlements he has received by
         defendants unrelated to this action). The Court in Stoops said that because the
         plaintiff’s “only purpose in using her cell phones is to file TCPA lawsuits, the calls
         are not “a nuisance and an invasion of privacy.” Based on the forgoing, this Court
         should apply the Stoops analysis in this instance, and find that the Plaintiff does not
         have standing.

  [Dkt. 30 at 5 (internal citations omitted)].

         The zone of interest test asks whether a particular class of persons has a right to sue under

  a particular statute; the test denies a right of review if the plaintiff’s interests are so marginally

  related to or inconsistent with the purposes implicit in the statute that it cannot reasonably be

  assumed that Congress intended to permit the suit.” Evans v. Nat’l Auto Div., LLC, No. 15-8714,

  2016 WL 4770033 (D.N.J. Sept. 13., 2016) (citing Lexmark Int’l, Inc. v. Static Control

  Components, Inc., 572 U.S. 118, 126-27 (2014)). Defendants cite to Stoops v. Wells Fargo Bank,

  N.A., 197 F. Supp. 3d 782, 800 (W.D. Pa. 2016) as an example of a similar case where a federal

  court found that a plaintiff’s interests did not fall within the zone of interests protected by the

  TCPA. In Stoops, the court found that the plaintiff did not suffer a true nuisance or an invasion of

  her privacy because she admitted that her only purpose in using her cell phones was to file TCPA

  lawsuits. 197 F. Supp. 3d at 800. The plaintiff in Stoops, who resided in Pennsylvania, purchased

  and maintained over thirty cell phones with Florida telephone numbers because she knew the




  REPORT AND RECOMMENDATION – Page 6
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 7 of 23 PageID #: 176



  locations she selected were economically depressed and included people who would be defaulting

  on their loans or their credit cards. Id. at 798-800. The plaintiff waited for the phones to ring; she

  sometimes answered the calls and told the callers to stop, but she testified her hope was that the

  calls would continue so she could treble her damages. Id.

          Stoops is distinguishable from this case given that the plaintiff in that case, at the summary

  judgment stage and after discovery, expressly acknowledged that she only purchased the cell

  phones at issue for the purpose of receiving automated telemarketing calls and subsequently filing

  TCPA suits. Even if this Court were to adopt the reasoning set forth in Stoops, there is no evidence

  in this case suggesting Plaintiff obtained the phone numbers at issue solely for TCPA purposes.

  See Cunningham v. Capital Advance Solutions, LLC, No. 17-13050 (FLW), 2018 WL 6061405,

  at *4-5 (D.N.J. Nov. 20, 2018) (unlike Stoops, the parties, here, are in the beginning stages of

  litigation).6 Rather, the parties here are in the beginning stages of litigation, and while it is evident

  that Plaintiff has pursued a substantial amount of TCPA cases, such assertion standing alone does

  not raise Plaintiff to the level of “professional plaintiff” as described in Stoops, such that he is

  outside the zone of interest. See Morris v. Unitedhealthcare Ins. Co., Civil Action No. 4:15-CV-

  00638-ALM-CAN, 2016 WL 7115973, at *6 (E.D. Tex. Nov. 9, 2016); Cunningham v. Rapid

  Response Monitoring Services, Inc., 251 F. Supp. 3d 1187, 1197 (M.D. Tenn. 2017) (rejecting the

  idea that, “by becoming a so-called ‘professional plaintiff,’ [plaintiff] has forfeited [his right to

  privacy] because the calls alleged were not truly unwanted”; Evans, No. CV 15-8714, 2016 WL


  6
    Most courts interpreting Stoops appear to have done so narrowly and have not extended its holding to cases where
  the phone line or numbers at issue were not procured solely to receive telemarketing calls. Abrahamson v. Oasis
  Power, LLC, No. 2:18-cv-00479, 2018 WL 410857, at n. 4 (W.D. Pa. July 31, 2018) (citing Greenley v. Laborers’
  Int’l Union of N. Am., 271 F. Supp. 3d 1128, 1139 (D. Minn. 2017) (“Here, by contrast [to Stoops], Greenley attests
  that he did not purchase the cellular telephone that [defendant] contacted for the sole purpose of initiating TCPA
  litigation.”); Sandusky Wellness Ctr., LLC v. Med Tox Scientific, Inc., 250 F. Supp. 3d 354, 358 (D. Minn. 2017)
  (same); Evans v. Nat’l Auto Div., LLC, Civ. No. 15-8714, 2016 WL 4770033, at *3 (D.N.J. Sep. 13, 2016) (“Stoops
  is distinguishable from this case on the grounds that the plaintiff in that case acknowledged that she only purchased
  cell phones in order to file TCPA lawsuits.”)).


  REPORT AND RECOMMENDATION – Page 7
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 8 of 23 PageID #: 177



  4770033, at *3 (“As a consumer complaining of receiving intrusive telemarketing calls, Plaintiff

  falls directly within the zone of interests protected by the TCPA”); Abramson, No. 2:18-cv-00479,

  2018 WL 4101857, at *4 (“the Court rejects any suggestion that [plaintiff’s] prolific history of

  filing TCPA lawsuits distinguishes this case and demonstrates the lack of an injury in fact);

  Fitzhenry v. ADT Corp., No. 14-80180, 2014 WL 6663379, at *5 (S.D. Fla. Nov. 3, 2014)

  (“Although Plaintiff may have created a home environment that allows him to document

  telemarketing calls better than most consumers, the Court is not convinced that Plaintiff is outside

  of the TCPA’s zone of interest.”); Mey v. Venture Data, LLC, 245 F. Supp. 3d 771, 783 (N.D.W.

  Va. 2017) (“It is true that the plaintiff has brought a number of TCPA cases. It is further true that

  she has telephone answering and recording equipment[, but] [t]his does not deprive the plaintiff of

  standing any more than the purchase of a burglar alarm would indicate that the homeowner wanted

  her house to be broken into.”). The Court finds Plaintiff has asserted an injury in fact and

  Defendant’s Motion to Dismiss for lack of standing should be denied.7

  Personal Jurisdiction

          In the live Complaint, Plaintiff contends that PLG is a corporation operating in Illinois

  [Dkt. 24 at 1], Feder Law Office is a corporation operating in New Jersey [Dkt. 24 at 1], and Feder

  is a New Jersey resident [Dkt. 24 at 2]. Plaintiff further avers that:

          This Court has personal jurisdiction over Defendants because Defendants conduct[]
          significant amounts of business within this District. [PLG] is a Texas entity subject
          to the Court’s personal jurisdiction. Additionally, [Feder] and [Feder Law Office]
          conduct business in a common enterprise and joint venture with [PLG] and
          Corporate Bailout and Protection Legal Group, LLC pursuant to a contract and
          agreement with all of the above entities. By doing business in Texas with a Texas
          based entity, placing calls to Texas Residents, including the Plaintiff, before and
          after the filing of a lawsuit, [Feder and the Feder Law Office] have subjected
          themselves to personal jurisdiction in Texas.

  7
    The Court previously considered the arguments asserted herein regarding whether Plaintiff had standing under the
  TCPA in Cunningham v. Florio, Civil Action No. 4:17-cv-00839, 2018 WL 4473792 at *2-5 (E.D. Tex. Aug. 6, 2018)
  report and recommendation adopted, No. 4:17-cv-00839, 2018 WL 4473096 (E.D. Tex. Sept. 18, 2018).


  REPORT AND RECOMMENDATION – Page 8
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 9 of 23 PageID #: 178



  [Dkt. 24 at 3]. Defendants argue that “[t]his Court does not have personal jurisdiction over the

  Law Office of Sanford J. Feder, LLC or Sanford J. Feder, Esq.” [Dkt. 30 at 8]. Defendants do not

  contest that the Court     may exercise personal jurisdiction over Mark D. Guidubaldi &

  Associates, LLC d/b/a Protection Legal Group.

         Rule 12(b)(2) Standard

         Federal Rule of Civil Procedure 12(b)(2) requires a court to dismiss a claim if the court

  does not have personal jurisdiction over the defendant. “After a non-resident defendant files a

  motion to dismiss for lack of personal jurisdiction, it is the plaintiff’s burden to establish that in

  personam jurisdiction exists.” Lahman v. Nationwide Provider Sols., No. 4:17-CV-00305,

  2018 WL 3035916, at *4 (E.D. Tex. June 19, 2018) (Mazzant, J.) (citing Bullion v. Gillespie,

  895 F.2d 213, 217 (5th Cir. 1990) (citing WNS, Inc. v. Farrow, 884 F.2d 200, 202 (5th Cir. 1989)).

  “To satisfy that burden, the party seeking to invoke the court’s jurisdiction must ‘present sufficient

  facts as to make out only a prima facie case supporting jurisdiction,’ if a court rules on a motion

  without an evidentiary hearing.” Id. (quoting Alpine View Co. v. Atlas Copco AB, 205 F.3d 208,

  215 (5th Cir. 2000)). “When considering the motion to dismiss, ‘[a]llegations in [a] plaintiff’s

  complaint are taken as true except to the extent that they are contradicted by defendant’s

  affidavits.’” Id. (quoting Int’l Truck & Engine Corp. v. Quintana, 259 F. Supp. 2d 553, 557

  (N.D. Tex. 2003) (citing Wyatt v. Kaplan, 686 F.2d 276, 282–83 n.13 (5th Cir.

  1982)); accord Black v. Acme Mkts., Inc., 564 F.2d 681, 683 n.3 (5th Cir. 1977). “Further, ‘[a]ny

  genuine, material conflicts between the facts established by the parties’ affidavits and other

  evidence are resolved in favor of plaintiff for the purposes of determining whether a prima

  facie case exists.’” Id. (quoting Quintana, 259 F. Supp. 2d at 557 (citing Jones v. Petty-

  Ray Geophysical Geosource, Inc., 954 F.2d 161, 1067 (5th Cir. 1992)).




  REPORT AND RECOMMENDATION – Page 9
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 10 of 23 PageID #: 179



            General Jurisdiction

            “General jurisdiction exists only when the defendant’s contacts with the forum state are so

  ‘“continuous and systematic”’ as to render them essentially at home in the forum State.” Lahman,

  2018 WL 3035916, at *5 (quoting Daimler AG v. Bauman, 571 U.S. 117, 127 (2014)

  (quoting Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919

  (2011)); citing Cent. Freight Lines v. APA Transp. Corp., 322 F.3d 376, 381 (5th Cir. 2003)

  (citing Helicopteros, 466 U.S. at 414 n.8)). “Substantial, continuous and systematic contact with

  a forum is a difficult standard to meet and requires extensive contacts between a defendant and the

  forum.” Id. (citing Johnston v. Multidata Sys. Int’l Corp., 523 F.3d 602, 609 (5th Cir. 2008)).

  “[V]ague and overgeneralized assertions that give no indication as to the extent, duration, or

  frequency of contacts are insufficient to support general jurisdiction.” Id. (quoting Johnston,

  523 F.3d at 609 (citing Gardemal v. Westin Hotel Co., 186 F.3d 588, 596 (5th Cir. 1999))). “For

  an individual,      the    paradigm     forum     for    the    exercise    of general jurisdiction is

  the individual’s domicile.” Arrow Elecs., Inc. v. Fireracker, LLC, No. 4:17-CV-00895, 2018 WL

  1761883, at *2 (E.D. Tex. Apr. 12, 2018) (Mazzant, J.) (quoting Daimler, 571 U.S. at 127

  (citing Goodyear, 564 U.S. at 919)); see also Clement Grp., LLC v. ETD Servs., LLC., No. 4:16-

  CV-00773, 2017 WL 2972877, at *3 (E.D. Tex. July 12, 2017) (Mazzant, J.) (same); Yasinosky v.

  River Oaks Farms Inc., No. 4:17-CV-214-A, 2017 WL 2709736, at *2 (N.D. Tex. June 22, 2017)

  (same).

            As mentioned supra, Plaintiff’s Amended Complaint asserts that “[Feder] and the [Feder

  Law Office] conduct business in a common enterprise and joint venture with [PLG] and Corporate

  Bailout and Protection Legal group, LLC pursuant to a contract and agreement with all of the

  above entities. By doing business in Texas with a Texas[-]based entity, placing calls to Texas




  REPORT AND RECOMMENDATION – Page 10
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 11 of 23 PageID #: 180



  Residents, including the Plaintiff, before and after the filing of a lawsuit, the [Feder Defendants]

  have subjected themselves to personal jurisdiction in Texas” [Dkt. 24 at 3]. This is insufficient to

  demonstrate that the Feder Defendants have the continuous and systematic contacts with the State

  of Texas required for general personal jurisdiction. See Oldaker v. Johnson & Johnson, Inc., 3:13-

  CV-2159-O, 2013 WL 12126260, at *4–5 (N.D. Tex. Nov. 20, 2013) (“Plaintiff’s general

  assertions that Ethicon LLC places its products into the stream of commerce and conducts business

  “within” Texas are insufficient to meet the requirements to establish general jurisdiction”); see

  also Carruth v. Michot, A-15-CA-189-SS, 2015 WL 6506550, at *7–8 (W.D. Tex. Oct. 26, 2015);

  Cunningham v. Florio, 417CV00839ALMCAN, 2018 WL 4473792, at *7 (E.D. Tex. Aug. 6,

  2018), report and recommendation adopted, 4:17-CV-839, 2018 WL 4473096 (E.D. Tex. Sept.

  18, 2018) (“Furthermore, a nonresident defendant’s contacts must ‘demonstrate a business

  presence in Texas,’ and the Fifth Circuit has emphasized the distinction between ‘doing

  business with Texas. . . [and] doing business in Texas.’”) (quoting Oldaker, 2013 WL 12126260,

  at *4 (quoting Access Telecom, 197 F.3d at 717; citing Johnston, 523 F.3d at 611; Jackson v.

  Tanfoglio Giuseppe, S.R.L., 615 F.3d 579, 585 (5th Cir. 2010); Am. Univ. Sys., Inc. v. Am. Univ.,

  858 F. Supp. 2d at 713)).

         The Feder Law Office is a limited liability company organized under and governed by the

  laws of New Jersey [Dkt. 24 at 2]. Plaintiff has not alleged that the Feder Law Office has

  employees, offices, or bank accounts in Texas. Further, Plaintiff’s allegation that the Feder Law

  Office entered into a contract with a Texas individual and entity, standing alone, is insufficient to

  establish general jurisdiction. See Evergreen Media Holdings, LLC v. Safran Co., 68 F. Supp. 3d

  664, 674 (S.D. Tex. 2014) (“An out-of-state defendant that merely does business with Texas

  businesses or customers will not be subject to general jurisdiction if it does not have a lasting




  REPORT AND RECOMMENDATION – Page 11
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 12 of 23 PageID #: 181



  physical presence in the state.”) (citing Best Little Promohouse in Texas LLC v. Yankee

  Pennysaver, Inc., 3:14-CV-1824-BN, 2014 WL 5431630, at *3 (N.D. Tex. Oct. 27, 2014) ) (Horan,

  J.) (citing Access Telecom, Inc. v. MCI Telecommunications Corp., 197 F.3d 694, 717 (5th Cir.

  1999)); see also Florio, 2018 WL 4473792, at *8.8 Similarly, the Court cannot maintain general

  personal jurisdiction over Feder as an individual. “For an individual, the paradigm forum for the

  exercise of general jurisdiction is the individual’s domicile.” Arrow Elecs., Inc. v. Fireracker,

  LLC, No. 4:17-CV-00895, 2018 WL 1761883, at *2 (E.D. Tex. Apr. 12, 2018) (Mazzant, J.)

  (quoting Daimler, 571 U.S. at 127 (citing Goodyear, 564 U.S. at 919)). It is undisputed that Feder

  is a resident of New Jersey; and accordingly, Feder is not “at home” in Texas and the Court may

  not exercise general personal jurisdiction over Feder.

           Specific Jurisdiction

           “Specific jurisdiction is proper when the plaintiff alleges a cause of action that grows out

  of or relates to a contact between the defendant and the forum state.” Lahman, 2018 WL 3035916,

  at *5 (citing Helicopteros, 466 U.S. at 414 n. 8). “For the Court to exercise specific jurisdiction,

  the Court must determine[:] ‘(1) whether the defendant has. . . purposely directed its activities

  toward the forum state or purposely availed itself of the privileges of conducting activities there;

  (2) whether the plaintiff’s cause of action arises out of or results from the defendant’s forum-

  related contacts; and (3) whether the exercise of personal jurisdiction is fair and reasonable.’” Id.


  8
    The Court also notes that Plaintiff incorrectly identifies the Feder Law Office as a corporation in his Amended
  Complaint. Even if the Feder Law Office was a corporation, Plaintiff has still failed to establish that the Court may
  exercise general personal jurisdiction over the Feder Law Office. See My Fabric Designs, Inc. v. F+W Media, Inc.,
  3:17-CV-2112-L, 2018 WL 1138436, at *4 (N.D. Tex. Mar. 2, 2018) (“The corporate defendant’s place of
  incorporation and principal place of business are the “paradigm” forums where it is “at home.”) (citing BNSF Ry. Co.
  v. Tyrrell, 137 S.Ct. 1549, 1558(2017) (quoting Daimler AG v. Bauman, 134 S.Ct. 746, 760 (2014)); Goodyear
  Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011)) (internal quotation marks omitted)); see
  also Monkton Ins. Servs., Ltd. v. Ritter, 768 F.3d 429, 432 (5th Cir. 2014) (“It is, therefore, incredibly difficult to
  establish general jurisdiction [over a corporation] in a forum other than the place of incorporation or principal place
  of business.”) (citations omitted).



  REPORT AND RECOMMENDATION – Page 12
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 13 of 23 PageID #: 182



  (quoting Nuovo Pignone, SpA v. STORMAN ASIA M/V, 310 F.3d 374, 378 (5th Cir. 2002)

  (citing Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474 (1985))). “Defendants who ‘“reach

  out beyond one state” and create continuing relationships and obligations with citizens of another

  state are subject to regulation and sanctions in the other state for consequences of their

  actions.’” Id. (quoting Burger King Corp., 471 U.S. at 475 (citing Travelers Health Assoc. v.

  Virginia, 339 U.S. 643, 647 (1950))). “Establishing a defendant’s minimum contacts with the

  forum state requires contacts that are more than ‘random, fortuitous, or attenuated, or of the

  unilateral activity of another party or third person.’” Id. (quoting Burger King Corp., 471 U.S.

  at 475).

         As noted supra, Plaintiff contends that because the Feder Defendants entered into a

  contract with PLG, a Texas entity, which made calls to Texas residents, including Plaintiff, the

  Feder Defendants have subjected themselves to personal jurisdiction in Texas [Dkt. 24 at 3]. The

  Feder Defendants argue that the Court does not have specific personal jurisdiction over them

  because even assuming that the phone calls were made to Plaintiff while he was in Texas, “Plaintiff

  has not plead[ed], with specificity[:] (1) the minimal contacts that each of the Feder Defendants

  had with the state of Texas; (2) any facts demonstrating that the exercise of jurisdiction over the

  said Defendants comports with traditional notions of fair play and substantial justice and/or (3) that

  the Defendants themselves created any contacts with the state of Texas” [Dkt. 30 at 11].

         Plaintiff responds that his allegation that the Feder Defendants and PLG entered into a

  formal contractual agreement is sufficient to establish personal jurisdiction pursuant to the Court’s

  prior decision in Cunningham v. Florio, 2018 WL 4473792, at *9. In Florio, the Court found that:

         The Court finds that Plaintiff’s allegations meet the prima facie burden for
         establishing specific personal jurisdiction over Commonwealth Servicing, DMB
         Financial, and Monmouth Marketing. “By entering into an agreement with a [Texas
         entity] that contemplates continuing activities geared towards residents of this



  REPORT AND RECOMMENDATION – Page 13
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 14 of 23 PageID #: 183



          forum, [the Court] find[s] that [Monmouth Marketing, DMB Financial, and
          Commonwealth Servicing] purposefully availed [themselves] to the laws and
          protections of [Texas],” and therefore, “engage[d] in sufficient ‘minimum contacts’
          with this forum to warrant specific personal jurisdiction.” Plaintiff[] alleges that
          one or more of these defendants contracted together for the promotion of a Texas
          individual and a Texas entity’s debt relief services, Amber Florio and the Florio
          Law Firm. Specifically, Plaintiff alleges that this agreement contemplates that the
          corporate defendants would direct call-recipients to Amber Florio and the Florio
          Law Firm, a Texas resident and a Texas entity. In addition, Plaintiff does, contrary
          to Defendants’ assertion, claim in his live complaint that the Entity Defendants
          placed the calls to him in Texas: “[s]ome calls were directly made by Matthew's
          corporations [Commonwealth Servicing and DMB Financial” [Dkt. 52, para 16];
          “Plaintiff discovered the call [sic] were being directly placed from Monmouth
          Marketing Group”

  Id. at *9.

          The instant case is distinguishable from Florio; here, Plaintiff does not offer any further

  factual support concerning the subject of the contract between the Feder Defendants and PLG or

  its connection to Texas, whereas in Florio, Plaintiff specifically alleged that the entities contracted

  with a Texas individual and entity for the promotion of a Texas individual and a Texas entity’s

  debt relief services. In the instant case, Plaintiff only avers that the Feder Defendants contracted

  with PLG; the Court notes that Plaintiff does not provide the Court with the purported contract

  entered into between the Feder Defendants and PLG or any allegations regarding the substance of

  the contract for the Court to determine whether the Feder Defendants have availed themselves of

  Texas law. See Moncrief Oil Int’l Inc. v. OAO Gazprom, 481 F.3d 309, 313 (5th Cir.2007) (finding

  no specific personal jurisdiction in part because the contract was silent as to the location of

  performance, so the forum state was not the hub of the contract’s activity). Moreover, the Court

  cannot “reasonably infer that [the Feder Law Office’s] telemarketing efforts targeted this state”

  because “the contacted phone number[s] [are] associated with an area code in Tennessee.” See

  Cunningham v. Capital Advance Sols., LLC, CV 17-13050 (FLW), 2018 WL 6061405, at *9

  (D.N.J. Nov. 20, 2018) (dismissing Plaintiff’s claims for lack of personal jurisdiction on nearly



  REPORT AND RECOMMENDATION – Page 14
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 15 of 23 PageID #: 184



  identical allegations). As there is no indication that the Feder Law Office “entered into a contract

  with a Texas entity that create[d] a continuing relationship and obligation between the entities,

  wherein [the Feder Law Office] agreed to promote and refer callers to the Texas entity, in addition

  to being alleged to have made numerous calls to Texas,” it cannot be concluded that the Feder Law

  Office “had ‘fair warning’ that litigation resulting from its contractual obligations could occur in

  this forum.” See Florio, 2018 WL 4473792, at *9; see also Capital Advance Sols., LLC, 2018 WL

  6061405, at *9 (dismissing Plaintiff’s Amended Complaint because “[t]he Amended Complaint

  does not explicitly assert that Capital directed its telemarketing activities towards New Jersey, as

  a result of its contractual agreement with EBF.”). Accordingly, Plaintiff’s Amended Complaint

  contains insufficient allegations to establish specific jurisdiction over the Feder Law Office.9

           As to Attorney Feder, Plaintiff does not allege that Feder is licensed in the state of Texas

  to practice law or that Feder actually made any of the alleged calls. Further, any action Feder took

  in contracting as a representative of the Feder Law Office does not confer personal jurisdiction

  over Feder as an individual. See 21st Century Fin. Services, Inc. v. Mandelbaum, A-10-CA-803

  LY, 2011 WL 3844209, at *8 (W.D. Tex. Aug. 30, 2011), report and recommendation adopted as

  modified sub nom. 21ST Century Fin. Services, LLC v. Manchester Fin. Bank, A-10-CA-803-LY,

  2011 WL 13108099 (W.D. Tex. Oct. 7, 2011) (“Because the Individual Defendants were merely

  acting in their corporate capacities on behalf of Manchester Bank in their dealings with Plaintiff,



  9
    To the extent Plaintiff attempts to establish an alter ego theory by alleging the Feder Defendants entered into a
  contract with PLG and/or the allegedly violative phone calls were made on behalf of the Feder Defendants [Dkt. 24
  at 3], such allegations are insufficient to establish an alter ego theory to pierce the corporate veil and establish personal
  jurisdiction over the Feder Defendants. See Del Castillo v. PMI Holdings N. Am. Inc., 4:14-CV-03435, 2016 WL
  3745953, at *12 (S.D. Tex. July 13, 2016) (“Plaintiffs’ pleadings are not sufficient to establish alter ego, whether
  between PMI Comercio and PMI Services or any of the other PMI Group entities, because Plaintiffs provide nothing
  more than bald assertions and conclusory allegations of an alter ego relationship.”); see also Bell v. Moawad Group,
  LLC, A-17-CA-00073-SS, 2017 WL 2841679, at *6–7 (W.D. Tex. June 30, 2017) (“the Court cannot conclude Bell’s
  minimal factual allegations and conclusory assertions are sufficient to show the Moawad Group is a façade for Bell’s
  interests and activities.”).


  REPORT AND RECOMMENDATION – Page 15
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 16 of 23 PageID #: 185



  the fiduciary shield doctrine prevents the Court from exercising specific jurisdiction over them ...

  although Defendant Mandelbaum signed and executed the Agreement, he did so in his capacity as

  President and CEO of Manchester Bank, not in his individual capacity. Courts have rejected the

  exercise of personal jurisdiction over the signatory on a contract who was acting in a representative

  capacity for a corporation.”) (citing Pension Advisory Group, Ltd. v. Country Life Ins. Co., 771 F.

  Supp. 2d 680 (S.D. Tex. 2011) (declining to exercise personal jurisdiction over defendant where

  he signed the contract in his representative capacity on behalf of the corporation); Cerbone v. Farb,

  225 S. W.3d 764,771 (Tex. App.–Houston [14th Dist.] 2007, no pet.) (holding that defendant did

  not purposefully avail himself of Texas jurisdiction by signing a promissory note in his corporate

  capacity on behalf his company) ); Tyson v. Austin Eating Disorders Partners, LLC, A-13-CA-

  180-SS, 2013 WL 3197641, at *4 (W.D. Tex. June 21, 2013) (“There is no dispute McCallum had

  a number of contacts with Texas, though all of those contacts were in his capacity as an AED

  officer. Those acts are properly shielded from consideration, as McCallum was acting on behalf of

  the   corporation,   and   the   corporation's   actions   cannot   be    imputed    to   McCallum

  individually.”); Constr. Aggregates, Inc. v. Senior Commodity Co., 860 F. Supp. 1176, 1179 (E.D.

  Tex. 1994), aff’d sub nom. Constr. v. Senior Commodity, 48 F.3d 531 (5th Cir. 1995) (“The

  uncontroverted record shows that this contact with the state—negotiating the contract, returning

  the signed contract to Texas, and performing the contract—was done solely in Doyle's capacity as

  a corporate officer. . . Thus, Doyle’s contacts made in connection with the contract do not count

  in determining whether the court has jurisdiction over him.”).




  REPORT AND RECOMMENDATION – Page 16
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 17 of 23 PageID #: 186



          In sum, the Court may not exercise specific personal jurisdiction over Defendants Sanford

  J. Feder, Esq. and Law Office of Sanford J. Feder, LLC.10 These Defendants should be dismissed

  for lack of personal jurisdiction; accordingly, the Court only considers the merits of Plaintiff’s

  claims against Defendant PLG under Rule 12(b)(6).11

  Failure to State a Claim

          Because the Court lacks personal jurisdiction over the Feder Defendants, the Court lastly

  considers whether Plaintiff has failed to state a claim against PLG for: (1) violations of 47 U.S.C.

  § 227(b) of the TCPA; (2) violations of 47 U.S.C. § 227(c) of the TCPA; and (3) invasion of

  privacy [Dkt. 24 at 16]. PLG argues that “Plaintiff’s [Amended] Complaint is nothing more than

  labels, conclusions and formulaic recitation of the elements of the TCPA, and it fails to provide

  the Defendants with sufficient information or fair notice of what the claim is and the grounds upon

  which it rests [Dkt. 30 at 8] and further that “Plaintiff fails to properly plead the elements for an

  invasion of privacy [claim]” [Dkt. 30 at 5].

          Rule 12(b)(6) Standard

          A Rule 12(b)(6) motion to dismiss argues that, irrespective of jurisdiction, the complaint

  fails to assert facts that give rise to legal liability of the defendant. The Federal Rules of Civil

  Procedure require that each claim in a complaint include “a short and plain statement . . . showing

  that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The claims must include enough

  factual allegations “to raise a right to relief above the speculative level.”                    Bell Atl. Corp.

  v. Twombly, 550 U.S. 544, 555 (2007). Thus, “[t]o survive a motion to dismiss, a complaint must




  10
     Plaintiff has already been given opportunity to amend his Complaint and was directly aware of the potential issues
  with personal jurisdiction given that Defendants moved on similar grounds for dismissal in their First Motion to
  Dismiss [see Dkt. 14 at 7-11].
  11
     The Court further notes that the TCPA does not specifically authorized nationwide service. See Gallegos v. Tygart,
  2017 WL 4872887, at 3 (D.N.M. July 20, 2017).


  REPORT AND RECOMMENDATION – Page 17
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 18 of 23 PageID #: 187



  contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

  face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). “A claim

  has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

  reasonable inference that the defendant is liable for the misconduct alleged.” Id. “It follows, that

  ‘where the well-pleaded facts do not permit the court to infer more than the mere possibility of

  misconduct, the complaint has alleged—but it has not ‘shown’—‘that the pleader is entitled to

  relief.’” Id. In considering a Rule 12(b)(6) Motion, the Court must accept as true all well-pleaded

  facts contained in Plaintiff’s Complaint and view them in the light most favorable to Plaintiff.

  Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996).

          Section 227(b)

          “Section 227(b) of the TCPA makes it unlawful for any person ‘to make any call (other

  than a call made for emergency purposes or made with the prior express consent of the called party)

  using any automatic telephone dialing system or an artificial or prerecorded voice . . . to any

  telephone number assigned to a . . . cellular telephone service for which the called party is charged

  for the call,’ or ‘to initiate any telephone call to any residential telephone line using an artificial or

  prerecorded voice to deliver a message without the prior express consent of the called party.’”

  Cunningham v. TechStorm, LLC, 3:16-CV-2879-S-BH, 2018 WL 3118400, at *3 (N.D. Tex.

  May 29, 2018), report and recommendation adopted, 3:16-CV-2879-S-BH, 2018 WL 3117529

  (N.D. Tex. June 25, 2018) (quoting 47 U.S.C. § 227(b)(1)(A)(iii), (B)). “The TCPA defines

  ‘automatic telephone dialing system’ as equipment with the capacity to ‘store or produce telephone

  numbers to be called, using a random or sequential number generator,’ and to dial such numbers.”

  Id. (quoting 47 U.S.C. § 227(a)(1)). “To state a claim under the TCPA for calls made to a cellular

  phone, a plaintiff is required to allege that a call was made to a cell or wireless phone by the use




  REPORT AND RECOMMENDATION – Page 18
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 19 of 23 PageID #: 188



  of any automatic dialing system or an artificial or prerecorded voice and without prior express

  consent of the called party.” Id. (citing 47 U.S.C. § 227(b)(1)(A); Chambers v. Green Tree

  Servicing LLC, No. 3:15-CV-1879-M-BN, 2017 WL 2693565, at *1 (N.D. Tex. June 20, 2017)).

         Plaintiff has alleged sufficient facts to state a claim under § 227(b) of the TCPA against

  PLG. Specifically, Plaintiff alleges that he never consented to being contacted using an ATDS

  and that the calls he received were not related to any emergency purpose [Dkt. 24 at 10]. Plaintiff

  indicates that the calls were initiated using an ATDS as “[m]any of the calls started with a pre-

  recorded message after several seconds of dead air time” [Dkt. 24 at 9]. Additionally, Plaintiff

  specifies the frequency/times of the calls for one hundred and five (105) phone calls and identifies

  one of the telephone numbers as being connected to PLG [see Dkt. 24-6 at 5-7]. Such allegations

  present sufficient context to notify PLG of the conduct charged, as required by Rule 8. TechStorm,

  2018 WL 3118400, at *4 (finding plaintiff alleged sufficient facts to state a claim under § 227(b)

  where plaintiff alleged that defendant called plaintiff without plaintiff’s consent by means of an

  automatic dialing system, indicated the reasons why plaintiff believed defendant used an automatic

  dialing system, and specified the frequency and times of the calls); Crawford v. Target Corp.,

  3:14-CV-0090-B, 2014 WL 5847490, at *4 (N.D. Tex. Nov. 10, 2014) (same); Barnes v.

  Santander Consumer USA, Inc., 1:14CV01941, 2015 WL 12777362, at *1 (N.D. Ohio June 15,

  2015) (holding plaintiff’s allegations provided fair notice of her TCPA claims and were

  sufficiently pled where plaintiff explained that defendant did not have consent to call plaintiff and

  plaintiff alleged that a “period of silence is indicative of an automatic dialer”); see also Hudak v.

  Berkley Group, Inc., No. 3:13-cv-00089-WWE, 2014 WL 354676, at *4 (D. Conn. Jan. 23, 2014)

  (“Prior to discovery, plaintiff need not explain the details of each defendant’s role in the planning,

  funding, and executing defendants’ alleged joint telemarketing scheme [in violation of the TCPA].




  REPORT AND RECOMMENDATION – Page 19
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 20 of 23 PageID #: 189



  Nothing in Rule 8 prohibits collectively referring to multiple defendants where the complaint alerts

  defendants that identical claims are asserted against each defendant.”). Accordingly, Plaintiff has

  sufficiently stated a TCPA claim under § 227(b) against PLG to survive at the Rule 12(b)(6) stage.

  Defendants’ Motion to Dismiss should be denied as to the § 227(b) claim against PLG.

         Section 227(c)

         Plaintiff alleges that the phone calls “by the Defendants constitute multiple breaches of the

  TCPA by placing telemarketing calls to the Plaintiff without maintaining an internal do-not-call

  policy lost, without identifying the defendants by name in the pre-recorded messages, and not

  training their employees or agents engaged in telemarketing on the use of an internal do-not-call

  list” [Dkt. 24 at 16]. Section 227(c)(5) of the TCPA allows a private right of action for “a person

  who has received more than one telephone call within any 12-month period by or on behalf of the

  same entity” in violation of the prescribed regulations that Plaintiff details above. 47 U.S.C.

  § 227(c)(5). 47 C.F.R. § 64.1200(d) states that “[n]o person or entity shall initiate any call for

  telemarketing purposes to a residential telephone subscriber unless such person or entity has

  instituted procedures for maintaining a list of persons who request not to receive telemarketing

  calls made by or on behalf of that person or entity.” 47 C.F.R. § 64.1200(d).

         In the instant case, Plaintiff has not adequately pleaded his TCPA claim under § 227(c)(5)

  against PLG (or any other of the Defendants). Plaintiff’s allegations under this specific part of the

  statute constitute one (and at most two) sentence(s) and provide no detail whatsoever as to the

  nature or extent of these violations [see Dkt. 24 at 10-11, 16]. “[Section 227(c)] relates to a

  marketer’s duty to prepare internal policies to receive and implement affirmative requests not to

  receive calls; Plaintiff does not allege that he made any such affirmative request to [the]

  Defendant[s], and therefore it is not clear how the provision was violated.” See Bailey v. Domino’s




  REPORT AND RECOMMENDATION – Page 20
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 21 of 23 PageID #: 190



  Pizza, LLC, 867 F. Supp. 2d 835, 842 (E.D. La. 2012) (court granted defendant’s motion to dismiss

  plaintiff’s claim because he did not allege that he made an affirmative request to not receive calls).

  Plaintiff’s allegations fail to state a claim for relief under § 227(c). See Jung v. Bank of Am., N.A.,

  3:16-CV-00704, 2016 WL 5929273, at *9 (M.D. Pa. Aug. 2, 2016) (court dismissed Plaintiff’s

  claim under § 227(c)(5) because “Plaintiff offers no facts plausibly demonstrating that she

  subscribed to the National Do-Not-Call Registry or that Defendants violated the FCC’s prescribed

  regulations for protecting the privacy of residential telephone subscribers.”); see also Heidarpour

  v. Empire Capital Funding Group, Inc., No. 18-CV-00250-YGR, 2018 WL 3455809, at *2 (N.D.

  Cal. July 18, 2018) (denying motion for default judgment for claims under § 227(c)(5) where “with

  respect to the liability and damages allegations, plaintiffs do not specifically allege facts, or

  provide supporting evidence, to establish when and how anyone requested that the phone numbers

  at issue be placed on the National Do Not Call Registry.”). Plaintiff is not entitled to relief under

  § 227(c)(5). Defendants’ Motion to Dismiss should be granted as to the § 227(c) claim against

  PLG.

         Invasion of Privacy

         In his Amended Complaint, Plaintiff alleges a claim for Invasion of Privacy, asserting that

  the “actions by the Defendants constitute multiple breaches of the Plaintiff’s privacy and right to

  be left alone under common law in Texas” [Dkt. 24 at 16]. “There are two elements to an intrusion

  on seclusion cause of action: (1) an intentional intrusion, physical or otherwise, upon another's

  solitude, seclusion, or private affairs or concerns, which (2) would be highly offensive to a

  reasonable person.” Morales v. Barnes, 05-17-00316-CV, 2017 WL 6759190, at *4 (Tex. App.—

  Dallas Dec. 29, 2017, no pet.) (citing Valenzuela v. Aquino, 853 S.W.2d 512, 513 (Tex. 1993)).

  Texas courts “have consistently held that an intrusion upon seclusion claim fails without evidence




  REPORT AND RECOMMENDATION – Page 21
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 22 of 23 PageID #: 191



  of a physical intrusion or eavesdropping on another’s conversation with the aid of wiretaps,

  microphones, or spying.” Morales v. Barnes, 05-17-00316-CV, 2017 WL 6759190, at *5 (Tex.

  App.—Dallas Dec. 29, 2017, no pet.) (citing Soda v. Caney, No. 05–10–00628–CV, 2012 WL

  1996923, at *2–3 (Tex. App.—Dallas June 5, 2012, pet. filed) (“[Appellant] cites no authority, nor

  have we found any, where a Texas court concluded a party suffered an intrusion upon his seclusion

  absent evidence of a physical invasion or eavesdropping.”). Plaintiff has failed to allege a physical

  intrusion into his seclusion or any act of eavesdropping by PLG. Further, Plaintiff fails to

  demonstrate that PLG intentionally intruded upon Plaintiff’s privacy in such a way that would be

  highly offensive to a reasonable person. Plaintiff’s sole, conclusory allegation that “actions by

  Defendants constitute multiple breaches of the Plaintiff’s privacy and right to be left alone” is

  wholly insufficient to state a claim for invasion of privacy under Texas law [Dkt. 24 at 16].

  Accordingly, Defendants’ Motions to Dismiss under Rule 12(b)(6) for Plaintiff’s Invasion of

  Privacy claim should be granted.

                              CONCLUSION AND RECOMMENDATION

         Based on the foregoing, the Court recommends that Defendants Mark D. Guidubaldi &

  Associates, LLC d/b/a Protection Legal Group (“PLG”), Law Office of Sanford J. Feder, LLC

  (“Feder Law Office”), and Sanford J. Feder, Esq.’s (“Feder”) (collectively “Defendants”) “Motion

  to Dismiss and to Strike Plaintiff’s ‘Amended Complaint’” [Dkt. 30] be GRANTED IN PART

  AND DENIED IN PART. Defendants Sanford J. Feder, Esq. and Law Office of Sanford J. Feder,

  LLC should be dismissed from the lawsuit for lack of personal jurisdiction. Plaintiff’s claims

  under section 227(c) of the TCPA and for invasion of privacy should be dismissed for failure to

  state a claim. Plaintiff’s section 227(b) claim against Defendant PLG should remain.




  REPORT AND RECOMMENDATION – Page 22
Case 4:18-cv-00118-ALM-CAN Document 33 Filed 01/11/19 Page 23 of 23 PageID #: 192



         Within fourteen (14) days after service of the magistrate judge’s report, any party must

  serve and file specific written objections to the findings and recommendations of the magistrate

  judge. 28 U.S.C. § 636(b)(1)(C). In order to be specific, an objection must identify the specific

  finding or recommendation to which objection is made, state the basis for the objection, and

  specify the place in the magistrate judge’s report and recommendation where the disputed

  determination is found. An objection that merely incorporates by reference or refers to the briefing

  before the magistrate judge is not specific.

         Failure to file specific, written objections will bar the party from appealing the unobjected-

  to factual findings and legal conclusions of the magistrate judge that are accepted by the district

  court, except upon grounds of plain error, provided that the party has been served with notice that

  such consequences will result from a failure to object. See Douglass v. United Services Automobile

  Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc), superseded by statute on other grounds,

  28 U.S.C. § 636(b)(1) (extending the time to file objections from ten to fourteen days).

           SIGNED this 11th day of January, 2019.




                                       ___________________________________
                                       Christine A. Nowak
                                       UNITED STATES MAGISTRATE JUDGE




  REPORT AND RECOMMENDATION – Page 23
